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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MERRILL PRIMACK,                             )
on behalf of himself and a class,            )
                                             )       Case No.: 14-cv-9333
                       Plaintiff,            )
               v.                            )
                                             )       Judge Virginia M. Kendall
SANTANNA NATURAL GAS                         )       Magistrate Judge Young B. Kim
CORPORATION d/b/a SANTANNA                   )
ENERGY SERVICES and JOHN DOES                )
1-10,                                        )
                                             )
                       Defendants.           )


                                    NOTICE OF SETTLEMENT

       Plaintiff, Merrill Primack, and Defendant, Santanna Natural Gas Corporation d/b/a

Santanna Energy Services, hereby notify the Court that they have settled all issues in the case.

The parties anticipate filing a document within forty-five days dismissing the matter. The parties

request that the October 22, 2015 status hearing be rescheduled to allow the parties time to

finalize the settlement.

                                                     Respectfully submitted,

ATTORNEYS FOR PLAINTIFF                              ATTORNEYS FOR DEFENDANT

s/Francis R. Greene                                  s/Ronald G. DeWaard
Francis R. Greene                                    Ronald G. DeWaard

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                                                     Chicago, IL 60601



                                 CERTIFICATE OF SERVICE

        I, Francis R. Greene, hereby certify that on October 21, 2015, I caused to be filed the
foregoing document with the Clerk of the Court using the CM/ECF System, which will send
notification of such filing to the following counsel of record:

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                                                     s/Francis R. Greene
                                                     Francis R. Greene




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